Case 20-22753-JAD                    Doc        Filed 09/29/21 Entered 09/29/21 12:21:59                                 Desc Main
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    Fill in this information to identify the case:

    Debtor 1 ROBERT J. BRACY
    Debtor 2
    (Spouse, if filing)

    United States Bankruptcy Court for the: Western District of Pennsylvania
    Case number 20-22753-JAD




 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                        12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest
 in the debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File
 this form as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule
 3002.1.

  Name of creditor: Freedom Mortgage Corporation                               Court claim no. (if known): 8

  Last four digits of any number you           2318                            Date of payment change:                     11/01/2021
  use to identify the debtor’s account:                                        Must be at least 21 days after date of
                                                                               this notice

                                                                               New total payment:                         $1,335.86
                                                                               Principal, interest, and escrow, if any


  Part 1: Escrow Account Payment Adjustment
      Will there be a change in the debtor’s escrow account payment?
            No
            Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
             Describe the basis for the change. If a statement is not attached, explain why:

            Current escrow payment: $ 531.99             New escrow payment:         $ 623.39

  Part 2: Mortgage Payment Adjustment
     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-
     rate note?
            No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
            attached, explain why:

                 Current interest rate:                              %              New interest rate:                                %

                Current principal and interest payment: $ _________              New principal and interest payment: $ __


  Part 3: Other Payment Change

     Will there be a change in the debtor’s mortgage payment for a reason not listed above?
            No
            Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
            modification agreement. (Court approval may be required before the payment change can take effect.)

                Reason for change:

                Current mortgage payment: $                        New mortgage payment: $




Official Form 410S1                            Notice of Mortgage Payment Change                                               page 1
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  Debtor1    ROBERT J. BRACY                                   Case number (if known) 20-22753-JAD
            First Name     Middle Name         Last Name


  Part 4: Sign Here
  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address
  and telephone number.

  Check the appropriate box.
    I am the creditor.

    I am the creditor’s authorized agent.



  I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
  knowledge, information, and reasonable belief.



      /s/ Mario Hanyon
      Signature
                                                                        Date 09/29/2021



  Print: Mario Hanyon (203993)
        First Name       Middle Name           Last Name                Title Attorney



  Company Brock & Scott, PLLC

  Address 302 Fellowship Road, Ste 130
            Number              Street


            Mount Laurel, NJ 08054
            City                   State    ZIP Code


  Contact phone 844-856-6646 x4560                                      Email pabkr@brockandscott.com




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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                                    Pittsburgh Division


IN RE:
ROBERT J. BRACY                                      Case No. 20-22753-JAD
                                                     Chapter 13
Freedom Mortgage Corporation,
       Movant
                                                       Hearing Date: TBD

                                                       Hearing Time: TBD

                                                       Objection Date: TBD

vs.

ROBERT J. BRACY,
    Debtor,


Ronda J Winnecour
      Respondent




      CERTIFICATE OF SERVICE OF NOTICE OF MORTGAGE PAYMENT CHANGE

       I certify under penalty of perjury that on September 29, 2021, I served or caused to be served
the Notice of Mortgage Payment Change on the parties at the addresses shown below or on the
attached list.

       The type(s) of service made on the parties (first-class mail, electronic notification, hand
delivery, or another type of service) was:

Via CM/ECF electronic notice:

Anthony M. Moody, Esq.                            Ronda J Winnecour
90 West Chestnut                                  Suite 3250, USX Tower
Ste 603                                           600 Grant Street
Washington, PA 15301-4524                         Pittsburgh, PA 15219
Counsel for Debtor                                Chapter 13 Trustee


Office of the United States Trustee
Liberty Center
1001 Liberty Avenue, Suite 970
Pittsburgh, PA 15222
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US Trustee

Via First Class Mail:

ROBERT J. BRACY                                   Ronda J Winnecour
924 GARDEN CITY DR                                Suite 3250, USX Tower
MONROEVILLE, PA 15146-1130                        600 Grant Street
Debtor                                            Pittsburgh, PA 15219
                                                  Chapter 13 Trustee

        If more than one method of service was employed, this certificate of service groups the parties
by the type of service. For example, names and addresses of parties served by electronic notice will be
listed under the heading “Via CM/ECF electronic notice” and those served by mail will be listed under
the heading “Via First Class Mail”.

EXECUTED ON: September 29, 2021
                                            /s/ Mario Hanyon
                                            Mario Hanyon
                                            (Bar No. 203993)
                                            Attorney for Creditor
                                            BROCK & SCOTT, PLLC
                                            302 Fellowship Road, Ste 130
                                            Mount Laurel, NJ 08054
                                            Telephone: 844-856-6646 x4560
                                            Facsimile: 704-369-0760
                                            E-Mail: pabkr@brockandscott.com

PAWB Local Form 7 (07/13)
                                     REPRESENTATION OF PRINTED DOCUMENT
     Case 20-22753-JAD                   Doc         Filed 09/29/21 Entered 09/29/21 12:21:59 Desc Main
                                                     Document      PageEscrow
                                                                        6 of 8 Account Disclosure Statement
                             PO BOX 50428
                             INDIANAPOLIS, IN 46250-0401
                                                                                  Account Information
                                                                                    Loan Number:
                                                                                 Property Address:                           924 GARDEN CITY DR
                                                                                                                          MONROEVILLE PA 15146



  ROBERT BRACY                                                                            Statement Date:                            09/10/2021
  924 GARDEN CITY DR                                                             Current Payment Amount:                              $1,244.46
  MONROEVILLE PA 15146-1130
                                                                                      New Payment Amount:                            $1,335.86
                                                                                 New Payment Effective Date:                        11/01/2021



You are receiving this statement because you have an escrow account with us. We have safeguards in place to ensure there is
enough money in your account to cover your homeowners insurance, real estate taxes and mortgage insurance, if applicable.
However, changes in your taxes and insurance could result in a shortage or surplus in your escrow account.
Based on our most recent analysis, you have a shortage of $638.62 in your escrow account. This shortage likely was caused by
changes in your taxes and/or insurance. A shortage may also result if full monthly escrow payments have not been made to your
account. To see these changes, refer to Part 2. We will automatically spread the shortage amount over 12 months of future
monthly escrow payments.

                 Projected Minimum Balance                                                     $770.70

                 - Required Minimum Balance                                                    $955.06

                 Shortage Amount                                                               $638.62

The required minimum balance is also known as the escrow cushion. The required minimum balance or escrow cushion is the amount
that you are required to pay into your escrow account to cover unanticipated disbursements for escrow items or for disbursements that
have to be made before the monthly escrow payments are available in your escrow account.
Part 1 provides your current and the new escrow payment amounts. Part 2 shows what has already happened in your account while
Part 3 shows what we anticipate happening in your account over the next 12 months. As escrow items are subject to change each year,
the amounts in Part 3 are only estimates.



PART


       1                                                         Your Mortgage Payment
                                      Payment information beginning with your 11/01/2021 payment

                                                           Payment Information            Current Monthly Payment           New Monthly Payment
                                                                Principal & Interest:                      $712.47                          $712.47
The escrow shortage amount will
                                                                  Escrow Payment:                          $530.55                          $570.18
automatically be spread over 12 months.
Your new monthly payment will be                                  Shortage Spread:                            $1.44                          $53.21
$1,335.86.                                                         Total Payment:                        $1,244.46                        $1,335.86




   NOTICE: Freedom Mortgage Corporation is a debt collector attempting to collect a debt. Any information obtained will be used for that purpose.
   However, in the event the debt has been discharged pursuant to or the addressee or recipient is under the protection of federal bankruptcy law,
   this communication is solely for informational purposes and is not an attempt to collect a debt.




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                                                      INTERNET REPRINT
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                                                                Document      Page 7 of 8
       PART


                  2                                                   Your Escrow Account History

                              The chart below compares what we projected to occur with actual activity in your escrow account since the
                              last analysis.

                Previous Year's Projections (Estimated)                                                             Actual Activity
    Date            Paid In      Paid Out   Description                      Balance     Date        Paid In    Paid Out      Description                   Balanc e
                                            Beginning Balance              $1,307.86                                          Beginning Balance          ($9,391.20)
  Oct 2020         $530.55        $94.62    FHA MORTGAGE INSURANCE         $1,743.79   Oc t 2020      $0.00       $94.62      FHA MORTGAGE INSURANCE     ($9,485.82)
  Nov 2020         $530.55        $94.62    FHA MORTGAGE INSURANCE         $2,179.72   Nov 2020       $0.00       $94.62      FHA MORTGAGE INSURANCE     ($9,580.44)
  Dec 2020         $530.55        $94.62    FHA MORTGAGE INSURANCE         $2,615.65   Dec 2020    $1,626.14      $94.62                                 ($8,048.92)
  Jan 2021         $530.55        $94.62    FHA MORTGAGE INSURANCE         $3,051.58   J an 2021    $507.18       $94.62                                 ($7,636.36)
  Feb 2021         $530.55        $94.62    FHA MORTGAGE INSURANCE         $3,487.51   Feb 2021     $507.18       $94.62 *                               ($7,223.80)
  Feb 2021            $0.00         $0.00                                  $3,487.51   Feb 2021       $0.00    $2,101.84      HOMEOWNERS                 ($9,325.64)
  Feb 2021            $0.00         $0.00                                  $3,487.51   Feb 2021       $0.00      $579.43      COUNTY TAX                 ($9,905.07)
  Mar 2021         $530.55      $1,691.52   HOMEOWNERS                     $2,326.54   Mar 2021     $507.18       $94.62 *                               ($9,492.51)
  Mar 2021            $0.00       $94.62    FHA MORTGAGE INSURANCE         $2,231.92   Mar 2021       $0.00        $0.00                                 ($9,492.51)
  Mar 2021            $0.00      $579.43    COUNTY TAX                     $1,652.49   Mar 2021       $0.00        $0.00                                 ($9,492.51)
  Apr 2021         $530.55        $94.62    FHA MORTGAGE INSURANCE         $2,088.42   Apr 2021     $507.18      $490.00                                 ($9,475.33)
  Apr 2021            $0.00      $490.00    SPECIAL ASSESSM                $1,598.42   Apr 2021       $0.00       $94.62      FHA MORTGAGE INSURANCE     ($9,569.95)
  May 2021         $530.55        $94.62    FHA MORTGAGE INSURANCE         $2,034.35   May 2021       $0.00       $94.62      FHA MORTGAGE INSURANCE     ($9,664.57)
  Jun 2021         $530.55        $94.62    FHA MORTGAGE INSURANCE         $2,470.28   J un 2021    $507.18       $92.65 *                               ($9,250.04)
  Jul 2021         $530.55        $94.62    FHA MORTGAGE INSURANCE         $2,906.21   Jul 2021       $0.00       $92.65 *    FHA MORTGAGE INSURANCE     ($9,342.69)
  Aug 2021         $530.55        $94.62    FHA MORTGAGE INSURANCE         $3,342.14   Aug 2021       $0.00    $2,559.20 *    SCHOOL/ISD TAX            ($11,901.89)
  Aug 2021            $0.00     $2,470.28   SCHOOL/ISD TAX                   $871.86   Aug 2021       $0.00       $92.65      FHA MORTGAGE INSURANCE    ($11,994.54)
  Sep 2021         $530.55        $94.62    FHA MORTGAGE INSURANCE         $1,307.79   Sep 2021    $1,014.36      $92.65 *                              ($11,072.83)
   Total          $6,366.60     $6,366.67                                               Total      $5,176.40   $6,858.03



             An asterisk (*) indicates a difference in that month between the actual activity and the estimated activity.
             When applicable, the letter “E” beside an amount indicates that a payment or disbursement has not yet occurred but is estimated
             to occur as shown.
             A double asterisk (**) indicates a difference in that month between the actual activity and the estimated activity due to interest
             payable on Escrow which is not estimated.




     LOAN NUMBER:




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                                             ELECTRONIC-ONLY DOCUMENT
        Case 20-22753-JAD               Doc         Filed 09/29/21 Entered 09/29/21 12:21:59 Desc Main
                                                    Document      PageEscrow
                                                                       8 of 8 Account Disclosure Statement
                            PO BOX 50428
                            INDIANAPOLIS, IN 46250-0401
                                                                                    Account Information                         Page 2
                                                                                      Loan Number:
                                                                                   Property Address:                        924 GARDEN CITY DR
                                                                                                                       MONROEVILLE PA 15146



      ROBERT BRACY                                                                          Statement Date:                       09/10/2021
      924 GARDEN CITY DR                                                           Current Payment Amount:                         $1,244.46
      MONROEVILLE PA 15146-1130
                                                                                        New Payment Amount:                       $1,335.86
                                                                                   New Payment Effective Date:                   11/01/2021


    PART


           3                         Expected Escrow Payments over the next 12 Months

           HOMEOWNERS                                                  $2,101.84   Freedom expects to pay $6,842.27 over the next 12 months.
           FHA MORTGAGE INSURANCE                                      $1,111.80
           COUNTY TAX                                                   $579.43    Here's how to calculate your new monthly escrow payment:
           SCHOOL/ISD TAX                                              $2,559.20
                                                                                   Total Disbursements:                 $6,842.27
           SPECIAL ASSESS                                               $490.00
           Total Disbursements                                         $6,842.27
                                                                                   ÷ 12 Months:                                12
                                                                                   New Monthly Escrow Payment                $570.18
                               Summary of Your Projected Escrow Account for the Coming Year
                                                          What We
                                 Payment                                                                      Your Actual       Balance Needed
                                                          Expect to                Description
               Date             to Escrow                                                                        Balance        In Your Account
                                                           Pay Out
                                                                      Beginning Balance                        $1,271.61               $1,910.23
            Nov 2021             $570.18                     $92.65   FHA MORTGAGE INSURANCE                   $1,749.14               $2,387.76
            Dec 2021             $570.18                     $92.65   FHA MORTGAGE INSURANCE                   $2,226.67               $2,865.29
            Jan 2022              $570.18                    $92.65   FHA MORTGAGE INSURANCE                   $2,704.20               $3,342.82
            Feb 2022              $570.18                    $92.65   FHA MORTGAGE INSURANCE                   $3,181.73               $3,820.35
            Mar 2022             $570.18                  $2,101.84   HOMEOWNERS                               $1,650.07               $2,288.69
            Mar 2022                $0.00                    $92.65   FHA MORTGAGE INSURANCE                   $1,557.42               $2,196.04
            Mar 2022                $0.00                  $579.43    COUNTY TAX                                 $977.99               $1,616.61
            Apr 2022             $570.18                     $92.65   FHA MORTGAGE INSURANCE                   $1,455.52               $2,094.14
            Apr 2022                $0.00                   $490.00   SPECIAL ASSESSM                           $965.52                $1,604.14
            May 2022              $570.18                    $92.65   FHA MORTGAGE INSURANCE                   $1,443.05               $2,081.67
            Jun 2022              $570.18                    $92.65   FHA MORTGAGE INSURANCE                   $1,920.58               $2,559.20
            Jul 2022              $570.18                    $92.65   FHA MORTGAGE INSURANCE                   $2,398.11               $3,036.73
            Aug 2022             $570.18                     $92.65   FHA MORTGAGE INSURANCE                   $2,875.64               $3,514.26
            Aug 2022                $0.00                 $2,559.20   SCHOOL/ISD TAX                             $316.44                $955.06 *
            Sep 2022             $570.18                     $92.65   FHA MORTGAGE INSURANCE                     $793.97               $1,432.59
            Oct 2022              $570.18                    $92.65   FHA MORTGAGE INSURANCE                   $1,271.50               $1,910.12
                                $6,842.16                 $6,842.27
        The required minimum balance, as indicated by the asterisk (*) in the summary above, is determined by the Real Estate
        Settlement Procedures Act (RESPA), your mortgage contract or state law. Your minimum balance may include up to two
        months of escrow payments (excluding PMI/MIP) to cover increases to your taxes and homeowners insurance.




    PART


           4                                                    What This Means to You

                 Your escrow balance is less than the required minimum balance or cushion in your account. The resulting
                 shortage is $638.62.
                 The Escrow shortage has been spread over 12 months. Including the shortage, your new total monthly payment
                 will be $1,335.86.
                 Did you know by having recurring payments set up through FreedomMortgage.com, we'll adjust for any changes
                 in your monthly payment automatically? However, if you have automatic bill pay through your bank, you'll need
                 to contact them directly to adjust your payment.
    PART


           5                                   How You Can Reach Us with Questions

                 Should you have any questions regarding the information provided in this statement please do not hesitate to
                 contact us at (855) 690-5900. Customer Care representatives are available to assist you Monday through Friday
                 from 8:00am – 10:00pm and Saturday from 9:00am – 6:00pm Eastern Time.




LOAN NUMBER:

                                             ELECTRONIC-ONLY DOCUMENT
